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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA

 Faith Sage, as Trustee for the Next of Kin of         )
 Decedent Kassondra Sage                               )
                                                       )       Case No. 0:18-cv-03170
                      Plaintiff,                       )
                                                       )
 vs.                                                   )       STIPULATION OF DISMISSAL
 Bridgestone Americas Tire Operations, LLC,            )       BRIDGESTONE AMERICAS
 and Bridgestone/Firestone do Brasil Industrial e      )       TIRE OPERATIONS, LLC
 Comercio Ltda., and WalMart Inc.                      )


       Plaintiff and Defendants file this stipulation of dismissal under Federal Rule of Civil

Procedure 41(a)(1)(A)(ii).

       1.      Plaintiff is Faith Sage, as Trustee for the next of kin of Decedent Kassondra Sage;

Defendant is Bridgestone Americas Tire Operations, LLC (“Bridgestone Americas”).

       2.      On November 13, 2018, Plaintiff sued Defendants.

       3.      On June 15, 2019, this Court granted dismissal of Bridgestone/Firestone do Brasil

Industrial e Comercio Ltda., pursuant to a Stipulation of Dismissal filed by the parties.

       4.      The Plaintiff and Bridgestone Americas have since settled this matter via mutual

agreement.

       5.      Pursuant to this settlement, Plaintiff moves to dismiss Bridgestone Americas from

the suit. Bridgestone Americas, who filed its answer on January 16, 2019, agrees to the dismissal.

       6.      This case is not a class action. A receiver has not been appointed in this case. This

case is not governed by any federal statute that requires a court order for dismissal. Plaintiff has

not previously dismissed any federal- or state-court suit based on or including the same claims as

those presented in this case.

       7.      This dismissal does not apply to any claims pending against WalMart Inc.

       8.      This dismissal is with prejudice to refiling.
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        9.    Each party shall bear its own costs and no costs or disbursements are to be awarded
to any party.


Date: April 28, 2021                    By: s/ Tom Conlin
                                            Attorney for Plaintiff


Date: April 28, 2021                    By: s/ Julia Dayton Klein
                                            Attorney for Bridgestone Americas Tire
                                            Operations, LLC


Date: May 6, 2021                       By: s/ Angela Beranek Brandt
                                            Attorney for Wal-Mart

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